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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
RICHARD HOFFER,

                                   Plaintiff,                       JUDGMENT

        -against-                                                   18 Civ. 1197 (AEK)

POLICE OFFICER ELYSSA TELLONE, SHIELD #
730387; POLICE OFFICER TREVOR GOFF, SHIELD
# 731915; POLICE OFFICER LAMONT BROWN,
SHIELD # 734149; and POLICE OFFICER DARCY
DRUMMOND, SHIELD # 731907,

                                    Defendants.
----------------------------------------------------------------x

        WHEREAS, Plaintiff Richard Hoffer (“Plaintiff”) brought the above-entitled action

against Defendants Police Officer Elyssa Tellone, Shield # 730387; Police Officer Trevor Goff,

Shield # 731915; Police Officer Lamont Brown, Shield # 734149; and Police Officer Darcy

Drummond, Shield # 731907 (collectively “Defendants”);

        WHEREAS, this action was assigned to the Honorable Lisa Margaret Smith, United

States Magistrate Judge, by consent of the parties pursuant to 28 U.S.C. § 636(c) (ECF No. 43),

and reassigned to the undersigned on October 15, 2020;

        WHEREAS, this action proceeded to a jury trial on December 1, 2021;

        WHEREAS, on December 8, 2021, the jury reached a unanimous verdict in favor of

Defendants on all claims that were presented to the jury;
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       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED, that judgment is

entered in favor of Defendants with respect to all claims. Accordingly, the Clerk is respectfully

requested to close the case.

Dated: December 9, 2021
       White Plains, New York
                                                     SO ORDERED.


                                                     ___________________________________
                                                     ANDREW E. KRAUSE
                                                     United States Magistrate Judge




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